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                     IN THE UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF ARKANSAS
                              NORTHERN DIVISION

LAKHRAJ MANOHAR                                                            PLAINTIFF

v.                             Case No. 3:16-cv-00076-KGB

BAXTER, et al.                                                          DEFENDANTS

                                   AMENDED ORDER

      On October 13, 2020, this Court entered an Order and Judgment dismissing plaintiff

Lakhraj Manohar’s complaint (Dkt. Nos. 74, 75). On October 16, 2020, the United States

Court of Appeals for the Eighth Circuit issued a judgment dismissing Mr. Manohar’s then-

pending appeal and the mandate (Dkt. Nos. 77, 78). To the extent this Court lacked

jurisdiction over this matter on October 13, 2020, due to Mr. Manohar’s then-pending

appeal, the Court issues this Amended Order and separate Amended Judgment again

dismissing Mr. Manohar’s complaint for the reasons previously articulated by the Court.

The Court adopts its prior Order as its Amended Order as if restated word-for-word (Dkt.

No. 74).

      So ordered this 19th day of October, 2020.


                                                   ________________________________
                                                    Kristine G. Baker
                                                   United States District Judge
